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                    IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

TERRY SNOW, #165514,                            )
                                                )
              Plaintiff,                        )
                                                )
    v.                                          )   CIVIL ACTION NO. 2:20-CV-543-RAH
                                                )
JEFFERSON S. DUNN, et.al.,                      )
                                                )
              Defendants.                       )

                                           ORDER

          On September 10, 2020, the Magistrate Judge entered a Recommendation (Doc.

 #4) to which no timely objections have been filed. After an independent review of the

 file and upon consideration of the Recommendation, it is ORDERED that:

         1.    The Recommendation of the Magistrate Judge is ADOPTED.

         2.    This case is DISMISSED without prejudice for Plaintiff’s failure to pay the

filing fee as ordered by this court.

         A separate Final Judgment will be entered.

         DONE, this 1st day of October, 2020.


                                              /s/ R. Austin Huffaker, Jr.
                                       R. AUSTIN HUFFAKER, JR.
                                       UNITED STATES DISTRICT JUDGE
